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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               BEAUFORT DIVISION

CHANDRA NELSON,                                 §
         Plaintiff,                             §
                                                §
vs.                                             §
                                                §    Civil Action No. 9:19-01807-MGL
                                                §
ANDREW M. SAUL, Commissioner of the             §
Social Security Administration,                 §
               Defendant.                       §
                                                §

         ORDER GRANTING PLAINTIFF’S MOTION FOR ATTORNEY FEES
                UNDER THE EQUAL ACCESS TO JUSTICE ACT

       This is a Social Security appeal. Pending before the Court is Plaintiff Chandra Nelson’s

(Nelson) motion under the Equal Access to Justice Act, 28 U.S.C. § 2412(d), for attorney fees in

the amount of Three Thousand Eight Hundred and Forty-Seven dollars and 50/00 cents ($3,847.50)

and expenses in the amount of Twenty dollars and 85/00 cents ($20.85). Defendant Andrew M.

Saul (Saul) filed a response and noted he does not oppose Nelson’s motion.

       Having carefully considered the motion, the response, and the relevant law, it is the

judgment of the Court the motion is GRANTED.

       IT IS SO ORDERED.

       Signed this 1st day of June 2021, in Columbia, South Carolina.

                                                    s/ Mary Geiger Lewis
                                                    MARY GEIGER LEWIS
                                                    UNITED STATES DISTRICT JUDGE
